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                                              13
                                                                                  UNITED STATES DISTRICT COURT
                                              14
                                                                             NORTHERN DISTRICT OF CALIFORNIA
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                                              16
                                                   BRENNA DICKERSON, Individually and on           Case No.: 3:23-cv-01320-AMO
                                              17   behalf of all others similarly situated,
                                                                                                   DEFENDANTS’ REQUEST FOR
                                              18                     Plaintiff,                    JUDICIAL NOTICE AND
                                                                                                   INCORPORATION BY REFERENCE
                                              19          v.                                       IN SUPPORT OF MOTION TO
                                                                                                   DISMISS SECOND AMENDED CLASS
                                              20   ANDY MACMILLAN and USERTESTING,                 ACTION COMPLAINT
                                                   INC.,
                                              21                                                   Date:       December 19, 2024
                                                                     Defendants.                   Time:       2:00 p.m.
                                              22                                                   Courtroom: 10, 19th Floor
                                                                                                   Judge:      Hon. Araceli Martínez-Olguín
                                              23                                                   Trial Date: None set

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                                               1           Defendants Andy MacMillan and UserTesting, Inc. (“UserTesting” or the “Company”)

                                               2   (collectively “defendants”) hereby request that the Court consider the following documents,

                                               3   attached as Exhibits 1 through 9 to the Declaration of Felix S. Lee (“Lee Declaration”), in

                                               4   connection with their concurrently filed Motion to Dismiss the Second Amended Class Action

                                               5   Complaint. 1 As explained below, the Court may consider these exhibits either as a matter of

                                               6   judicial notice under Fed. R. Civ. P. 201,2 the incorporation by reference doctrine, or in certain

                                               7   instances both.

                                               8           1.        Excerpts of UserTesting’s Definitive Proxy Statement (“Proxy”), filed with the

                                               9   Securities Exchange Commission (“SEC”) on December 6, 2022, and UserTesting’s Supplemental

                                              10   Proxy Statement (“Supplemental Proxy”), filed with the SEC on December 28, 2022, which are

                                              11   attached as Exhibits 1 and 2 to the Lee Declaration, respectively. The Proxy contains statements

                                              12   that are alleged to violate Section 14(a) of the Securities Exchange Act of 1934 and therefore is the
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                                              13   very subject of plaintiff’s claim (see, e.g., ¶¶ 3-8, 74, 76), and the Supplemental Proxy amends that

                                              14   document, and both are quoted throughout the SAC.

                                              15           2.        UserTesting’s quarterly and full year earnings release on February 28, 2022, filed

                                              16   with the SEC on that same date as an exhibit to Form 8-K, which is attached as Exhibit 3 to the

                                              17   Lee Declaration.

                                              18           3.        UserTesting’s quarterly earnings release on May 4, 2022, filed with the SEC on that

                                              19   same date as an exhibit to Form 8-K, which is attached as Exhibit 4 to the Lee Declaration.

                                              20   Plaintiff specifically refers to Exhibit 4 at ¶ 39.

                                              21           4.        UserTesting’s quarterly earnings release on August 4, 2022, filed with the SEC on

                                              22   that same date as an exhibit to Form 8-K, which is attached as Exhibit 5 to the Lee Declaration.

                                              23   Plaintiff specifically refers to Exhibit 5 at ¶ 41. Moreover, the quarterly results and guidance

                                              24   contained in this exhibit are incorporated by reference in ¶¶ 42-45.

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                                              26     Citations to “¶” are to the paragraphs of the Second Amended Class Action Complaint (“SAC”).
                                                   2
                                                     Fed. R. Evid. 201 permits courts to take judicial notice of any fact that is “not subject to
                                              27   reasonable dispute because it: (1) is generally known within the trial court’s territorial jurisdiction;
                                                   or (2) can be accurately and readily determined from sources whose accuracy cannot reasonably be
                                              28   questioned.” Fed. R. Evid. 201(b).

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                                               1          5.      UserTesting’s quarterly earnings release on October 27, 2022, filed with the SEC on

                                               2   that same date as an exhibit to Form 8-K, which is attached as Exhibit 6 to the Lee Declaration.

                                               3   Plaintiff specifically refers to Exhibit 6 at ¶¶ 72, 85-87. Moreover, the quarterly results, guidance,

                                               4   and merger announcement contained in this exhibit are incorporated by reference in ¶¶ 74-76, 83.

                                               5          6.      Reports and presentations shared with UserTesting’s Board of Directors attached as

                                               6   Exhibits 7, 8, and 9 to the Lee Declaration. Plaintiff refers to or quotes from Exhibits 7, 8, and 9

                                               7   at ¶¶ 50-51, 53, 57-59, 63-65, 75-83, 85-86, 105. Moreover, plaintiff relies on these documents to

                                               8   allege that certain statements made in the Proxy were false or misleading, and thus bases her claim

                                               9   in part on these documents. See, e.g., ¶¶ 4-8, 74-83.

                                              10
                                                          A.      As Before, the Court Should Deem Materials Quoted, Referenced, And Relied
                                              11                  Upon In The Second Amended Complaint Incorporated By Reference

                                              12          As the Court previously determined in its Order granting defendants’ motion to dismiss
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                                              13   (Dkt. No. 62) (the “Order”), because plaintiff refers to, relies on, quotes, and expressly bases her
                                              14   claims on portions of Exhibits 1, 2 and 4-9, the Court may consider such documents on a motion
                                              15   to dismiss under the incorporation by reference doctrine. See Order at 9-10; see also, e.g., In re
                                              16   NVIDIA Corp. Sec. Litig., 768 F.3d 1046, 1058 n.10 (9th Cir. 2014); Lee v. City of Los Angeles,
                                              17   250 F.3d 668, 688 (9th Cir. 2001); City of Royal Oak Ret. Sys. v. Juniper Networks, Inc., 880 F.
                                              18   Supp. 2d 1045, 1060 (N.D. Cal. 2012) (“[A] court may consider . . . documents incorporated by
                                              19   reference in the complaint”); accord United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003)
                                              20   (holding that incorporation by reference is appropriate “if the plaintiff refers extensively to the
                                              21   document or the document forms the basis of the plaintiff’s claim”) (emphasis added).
                                              22          The Court may consider the full contents of documents incorporated by reference, even if a
                                              23   complaint only relies on certain portions. See Khoja v. Orexigen Therapeutics Inc., 899 F.3d 988,
                                              24   1002 (9th Cir. 2018) (doctrine of incorporation by reference prevents plaintiff from omitting
                                              25   portions of “documents that weaken—or doom—their claims” in favor of only those that support
                                              26   them). As such, because Exhibits 1, 2, 4, 5, and 6 are SEC filings extensively quoted or discussed
                                              27   in the SAC, and are thus expressly incorporated by reference, the Court may consider them as part
                                              28   of the SAC. See, e.g., ¶¶ 3-8, 39, 41, 74; see Golub v. Gigamon Inc., 372 F. Supp. 3d 1033, 1043


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                                               1   (N.D. Cal. 2019) (quoted press release incorporated by reference), aff’d, 847 F. App’x 368 (9th Cir.

                                               2   2021); Colyer v. Acelrx Pharms., Inc., 2015 WL 7566809, at *3 (N.D. Cal. Nov. 25, 2015)

                                               3   (“Plaintiffs cannot selectively quote from one part of a publicly-available transcript and then object

                                               4   to Defendants’ decision to provide the Court with the complete transcript.”); In re Bare Escentuals,

                                               5   Inc. Sec. Litig., 745 F. Supp. 2d 1052, 1066 (N.D. Cal. 2010) (where plaintiff “references and relies

                                               6   on a particular document as part of the . . . complaint,” the court is “justified in looking outside the

                                               7   four corners of the complaint, to the document itself if offered.”).

                                               8          Likewise, Exhibits 7-9 are confidential Company documents that are quoted extensively in

                                               9   the SAC and form part of the bases of plaintiff’s claims, and hence the Court may consider them in

                                              10   their entirety. See Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005) (“In evaluating the

                                              11   context in which [a] statement appeared, [courts] must take into account ‘all parts of the

                                              12   communication that are ordinarily heard or read with it.’”) (citation omitted).
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                                              13          B.      The Court May Take Judicial Notice Of SEC Filings
                                              14          The Court may also take judicial notice of public documents whose authenticity cannot be

                                              15   questioned. Fed. R. Evid. 201(b); see also In re Stac Elecs. Sec. Litig., 89 F.3d 1399, 1405 n.4

                                              16   (9th Cir. 1996); Order at 9 (“Courts take judicial notice of . . . publicly available financial

                                              17   documents such as SEC filings . . ..”) (citing Metzler Inv. GMBH v. Corinthian Colls., Inc., 540

                                              18   F.3d 1049, 1064 n.7 (9th Cir. 2008). Exhibits 1-6 are all materials filed with the SEC routinely

                                              19   take judicial notice of such documents (especially when deciding a motion to dismiss in cases

                                              20   under the federal securities laws). See, e.g., Order at 9-10; Khoja, 899 F.3d at 1003 (publicly

                                              21   disclosed reports may be properly subject to judicial notice); Kahnert v. Kotick, 2023 WL

                                              22   2628609, at *2 (C.D. Cal. Jan. 17, 2023) (“Courts routinely find SEC filings, as well as press

                                              23   releases, earnings calls, and other information made available to the market to be matters of public

                                              24   record, regardless of whether it was referenced in the complaint.”); Kim v. Allakos Inc., 2022 WL

                                              25   976974, at *3 (N.D. Cal. Mar. 31, 2022) (taking judicial notice of SEC filings, investor call

                                              26   transcripts, and news articles); Mendoza v. HF Foods Grp. Inc., 2021 WL 3772850, at *2 (C.D.

                                              27   Cal. Aug. 25, 2021) (taking judicial notice of SEC filing available during the relevant timeframe);

                                              28   City of Pontiac Police & Fire Ret. Sys. v. Caldwell, 2021 WL 2711750, at *3 (N.D. Cal. July 1,


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                                               1   2021) (SEC filings and public AMD documents are proper subjects of judicial notice); Golub, 372

                                               2   F. Supp. 3d at 1043 (judicial notice of SEC filings is proper); In re Solarcity Corp. Sec. Litig., 274

                                               3   F. Supp. 3d 972, 988 (N.D. Cal. 2017) (taking judicial notice of proxy statement not referenced in

                                               4   pleadings where relevant to evaluating scienter); Juniper, 880 F. Supp. 2d at 1060 (taking judicial

                                               5   notice of SEC Form 4s not directly referenced in complaint where scienter claims relied on stock

                                               6   sales).

                                               7             C.     Cautionary Statements Relevant To The Safe Harbor
                                               8             The Court may consider Exhibits 1 and 2 for the independent reason that the PSLRA safe

                                               9   harbor for forward-looking statements is at issue, and the Court must consider “any cautionary

                                              10   statement accompanying the forward-looking statement, which [is] not subject to material dispute,

                                              11   cited by the defendant.” 15 U.S.C. § 78u-5(e); In re Copper Mountain Sec. Litig., 311 F. Supp. 2d

                                              12   857, 864 (N.D. Cal. 2004).
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                                              14   Dated: November 7, 2024                       FENWICK & WEST LLP
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                                              16                                                 By: /s/ Felix S. Lee
                                                                                                     Felix S. Lee
                                              17

                                              18
                                                                                                      Attorneys for Defendants
                                              19                                                      Andy MacMillan and UserTesting, Inc.
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